Case 2:24-cv-06089-JMA-AYS   Document 1-8   Filed 08/30/24   Page 1 of 3 PageID #:
                                     30




                       EXHIBIT H
FILED: NASSAU COUNTY CLERK 08/21/2024 03:57 PM                               INDEX NO. 607805/2024
         Case
NYSCEF DOC.   2:24-cv-06089-JMA-AYS
            NO. 7                     Document 1-8   Filed 08/30/24   Page 2 of 3 NYSCEF:
                                                                       RECEIVED   PageID #:
                                                                                          08/21/2024
                                              31
FILED: NASSAU COUNTY CLERK 08/21/2024 03:57 PM                               INDEX NO. 607805/2024
         Case
NYSCEF DOC.   2:24-cv-06089-JMA-AYS
            NO. 7                     Document 1-8   Filed 08/30/24   Page 3 of 3 NYSCEF:
                                                                       RECEIVED   PageID #:
                                                                                          08/21/2024
                                              32
